             Case
             Case2:16-cv-01080-HB
                  2:16-cv-01080-HB Document
                                   Document17-1 Filed08/23/16
                                            18 Filed  08/22/16 Page
                                                                Page1 1of6
                                                                      of 6



                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

 LINDA LIANO,
     Plaintiff
                                                    No. 2: 16-CV-01080-hb
 v.
                                                    District Judge Harvey Bartle III
 COMPUTER SCIENCES CORPORATION,
    Defendant.                                      Jury Trial Demanded


              PROTECTIVE ORDER AND CONFIDENTIALITY AGREEMENT


        Certain records of Defendant, Computer Sciences Corporation ("Defendant" or "CSC"),

contain personal and/or confidential information, including that of non-parties to this litigation,

the disclosure of which, outside the scope of this litigation, could be harmful or result in

significant injury to legitimate privacy and/or commercial interests.       However, some of the

above-described records may be discoverable and/or contain information potentially relevant to

Plaintiffs claims or to Defendant's defenses. Accordingly, counsel for Defendant and Plaintiff

herein stipulate and agree, subject to the Court's approval, that:

        1.      The parties agree that the following information, data or documents, if identified

as "Confidential" by the party when producing them, or, with respect to documents produced by

either party or non-parties, if designated "Confidential" in writing by the receiving party, shall be

deemed confidential for the purposes of this Agreement: personnel files, payroll records,

employment records, and/or medical records concerning current or former employees of CSC,

aside from Plaintiff, and trade secrets or confidential commercial information (collectively, the

Confidential Records).

       2.       Confidential Records may be designated as follows:
              Case
              Case2:16-cv-01080-HB
                   2:16-cv-01080-HB Document
                                    Document17-1 Filed08/23/16
                                             18 Filed  08/22/16 Page
                                                                 Page2 2ofof6 6




                  A)     By imprinting the word "Confidential" on each page of the document

                         produced, in such a manner as will not interfere with the legibility thereof;

                  B)     With respect to electronically stored information that is not Bates

                         numbered, by imprinting the word "Confidential" on the compact disc (or

                         other media) containing the material produced or by including the word

                         "Confidential" in the file name;

                  C)     By imprinting the word "Confidential" next to or above any response to a

                         discovery request; or

                  D)     With respect to transcribed testimony or deposition exhibits, by giving

                         written notice to opposing counsel designating testimony or exhibits as

                         "Confidential" no later than thirty calendar days after receipt of the final

                        transcribed testimony or by designating on the record at the deposition

                        such portions as "Confidential."       In order to permit time for such

                        designation, all deposition testimony and deposition exhibits shall be

                        treated as "Confidential" for thirty days after the date of the receipt of the

                        final transcribed testimony.

         3.      The Confidential Records are to be considered confidential for purposes of this

Order.

         4.      The Confidential Records may be used solely for the purpose of this litigation and

for no other purpose.

         5.      The Confidential Records will be retained in the office of counsel except that

counsel may remove the documents from the office for the time necessary for:




                                                  2
              Case
              Case 2:16-cv-01080-HB
                   2:16-cv-01080-HB Document
                                    Document 17-1 Filed08/23/16
                                             18 Filed   08/22/16 Page
                                                                  Page3 3ofof6 6




                  A)     Examination by experts or witnesses in this case who will testify about

                         information on the Confidential Records;

                  B)     For use at trial, hearing, or depositions;

                  C)     For use as exhibits to any motion or brief filed with the Court.

         6.       Copying of the Confidential Records will be strictly limited to:

                  A)     Copies used as exhibits attached to depositions, motions, or other court

                         filings;

                  B)     Necessary copies for counsel's use in preparation for depositions or trial;

                  C)     Necessary copies of the Confidential Records used as exhibits at trial;

         7.       The parties shall not disclose the contents of the Confidential Records.         The

parties shall allow individuals to view the Confidential Records only to the extent necessary to

pursue the claims and defenses in this matter. Such individuals are limited to the Plaintiff, the

parties' attorneys, members of the attorneys' firm involved in this litigation, stenographers,

reporters, witnesses, and experts involved in this matter.            All persons having access to the

Confidential Records shall be advised that the Confidential Records are subject to a protective

order and shall agree to be bound thereto.

        8.       Plaintiff understands that she is personally bound by this Protective Order.

Plaintiff shall not discuss the contents of the Confidential Records with anyone other than her

attorney or an expert or accountant specifically retained by Plaintiff to provide advice or

testimony in this litigation.

        9.       Nothing contained in this Order shall prevent the use of the Confidential Records

or any part thereof, at the trial, subject to the Court's approval, or at deposition with the

following safeguards.


                                                   3
          Case
          Case 2:16-cv-01080-HB
               2:16-cv-01080-HB Document
                                Document 17-1 Filed08/23/16
                                         18 Filed   08/22/16 Page
                                                              Page4 4ofof6 6




                A.      If used at deposition, the deponent and the reporter will be informed of

                        the protective order and be advised that pursuant to this protective order,

                        he or she may not divulge any Confidential Records except as necessary

                        in providing testimony or services in this litigation.

                B.     If used as an exhibit in a motion or at hearing, the parties shall jointly

                       move pursuant to the Local Rules and the Administrative Procedures for

                       Electronic Case Filing to seal that portion of the record to prevent

                       disclosure to third parties. Neither party shall oppose the other's motion

                       to seal any document designated as Confidential pursuant to the

                       Agreement.

        10.    Challenge to Designation.         Any Party may challenge the designation of

Confidential Records within 45 days of its production.         A failure of a Party to challenge

expressly a designation of Confidential Records shall not constitute a waiver of the right to assert

at any subsequent time that the material designated does not constitute Confidential Records.

        11.    Procedures for Challenge. Any Party that disagrees with the designation of any

information as Confidential Records may notify the opposing Party. The designating Party shall

then have thirty (30) days from receipt of the notification to move the Court for an Order

upholding the designation. The burden of proving that the designation is proper under Rule

26(c)(l)(G) shall be upon the designating Party. The designated information shall be treated as

Confidential Records until the Court rules on the designating Party's timely motion. If the

designating Party fails to move the Court in accordance with this Paragraph, or if the Court finds

the designation of Confidential Records to have been inappropriate, the challenged designation

shall be considered rescinded.      The Parties thereafter shall not be required to treat the



                                                4
              Case
              Case 2:16-cv-01080-HB
                   2:16-cv-01080-HB Document
                                    Document 17-1 Filed08/23/16
                                             18 Filed   08/22/16 Page
                                                                  Page5 5
                                                                        ofof
                                                                           66



 information as Confidential Records.

         12.      In the event Confidential Records are used in any court filing or proceeding in this

 action, including but not limited to its use at trial, they shall not lose confidential status as

 between the Parties through such use.        In the event it is necessary for the Parties to file

 Confidential Records as well as briefs quoting or discussing Confidential Records with the Court

 in connection with any proceeding or motion, the Confidential Records shall be filed under seal

 in accordance with Court rules.

        13.       Failure to designate any information as Confidential pursuant to this Protective

Order shall not constitute a waiver of any otherwise valid claim for protection, so long as such

claim is asserted within 30 days of discovery of the failure. At such time, arrangements shall be

made for the return of the information that should have been marked Confidential to the

Producing Party to substitute properly labeled copies.        The Party failing to designate such

information as Confidential Records must notify the Receiving Party in writing of such failure.

The Receiving Party will take reasonable steps to see that the information is thereafter treated in

accordance with the designation. No person or Party however, shall incur any liability hereunder

with respect to any disclosure that occurred prior to receipt of written notice of a belated

designation.

        14.      Nothing in this Order shall prevent a party from seeking an Order compelling

production of Confidential Records, privileged documentation, or any other documentation under

the Federal Rules of Civil Procedure.

       15.       Nothing in this Order shall be construed to affect the discoverability, use of, or

admissibility of any document, material or information at any trial or hearing.

       16.       The parties agree that this agreement does not constitute a global waiver by any



                                                  5
           Case
           Case 2:16-cv-01080-HB
                2:16-cv-01080-HB Document
                                 Document 17-1 Filed08/23/16
                                          18 Filed   08/22/16 Page
                                                               Page6 6ofof6 6




party as to whether any Confidential Records are discoverable, but rather, is a mechanism by

which Confidential Records that are disclosed are prevented from being used for any purpose

outside this litigation by any party.

         17.    At the conclusion of the litigation or within 30 days after the parties' rights to

appeal or further appeal expire, counsel for the party requesting return or destruction of

Confidential Records shall notify opposing counsel in writing of such request. Opposing counsel

shall either destroy or return all Confidential Records produced during the course of litigation, as

well as any photocopies of the Confidential Records that counsel for the parties may have made,

within 30 days of the request.

         18.    Any party may apply to the Court for a modification of this Order and nothing in

this Order shall be deemed to prejudice their right to seek modification. The parties agree to

make good faith efforts to comply with all terms of this Order.

         19.    The court retains the right to allow disclosure of any subject covered by this

stipulation or to modify this stipulation at any time in the interest of justice.


IT IS SO ORDERED

Dated:   vQ,1~ d3,d-o t-6




                                                  6
